Case 2:03-CV-02423-SH|\/|-tmp Document 108 Filed 06/10/05 Page 1 of 3 Page|D 132

 

FW£D BY .
IN THE UNITED sTATEs DISTRICT COURT ~ -- O.r,:_
FoR THE WESTERN DISTRICT oF TENNESSEE 05 JU‘,
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mh __
of§z§§<" fit 554 EiGz.zo
LAURA A. TAVERNIER, M.D., W..s. off"~,"";i`" |[::.§*,,gf?"g
v "\f):‘ " \
Plaintiff,
V. NO. 03-2423-M&P

THE UNIVERSITY OF TENNESSEE
COLLEGE OF MEDICINE, ET AL.,

Defendants.

 

ORDER GRANTING PERMISSION TO FILE MOTION

 

Before the court is the June 3, 2005, unopposed motion of
defendants University of Tennessee, John Midtling, Henry Herrod,
Ray Walker, and Nancy Maddox, to file a late-filed motion for
summary judgment, the motion having been inadvertently
omitted on June 2, 2005, When the memorandum in support and other
documents Were filed. For good cause shown, the motion is
granted and defendants may file their motion for summary
judgment.

. . /=>J’L
It is so ORDERED this day of June, 2005.

JA%/w/L`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 108 in
case 2:03-CV-02423 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

